O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence R eduction



                                       U NITED STATES D ISTRICT C OURT
                                                                          for the

                                                        Western District of North Carolina

                     United States of America                               )
                                v.                                          )
                                                                            )   Case No:   5:03CR00004-013
                 KENNETH TERRELL DALTON
                                                                            )   USM No: 19282-058
Date of Previous Judgment: 8/9/2004                                         )   Randolph Lee
(Use Date of Last Amended Judgment if Applicable)                           )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 210 (each count) months is reduced to 168 months (each count) .

I. COURT DETERM INATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level: 35                       Amended Offense Level:                                         33
Criminal History Category:             III                                      Criminal History Category:      III
Previous Guideline Range:              210         to 262        months         Amended Guideline Range:        168       to 210   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS
The defendant’s sentence is reduced to 168 months on each count, both counts to run concurrently. Upon release from
imprisonment, and absent a residential plan accepted by the U.S. Probation Officer prior to release from incarceration, it
is ordered that as a condition of supervised release the defendant shall submit to the local Residential Reentry Center for
a period not to exceed 90 days, with work release, at the direction of the U.S. Probation Officer.

Except as provided above, all provisions of the judgment dated                      8/9/2004           shall remain in effect.
IT IS SO ORDERED .

Order Date:          April 16, 2010


Effective Date:
                       (if different from order date)




                    Case 5:03-cr-00004-KDB                      Document 844             Filed 04/16/10       Page 1 of 1
